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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 25-20577-CIV-ALTONAGA/Reid

  IN THE MATTER OF THE COMPLAINT OF
  BRP CORPORATE SERVICES LLC, AS OWNER
  OF A 2016 27' SAILFISH, MODEL 275 DC, HIN
  # YS IC0 0 9 9 J5 1 6, FLORIDA VESSEL
  REGISTRATION NUMBER, FL 4080 TD, WITH
  TWIN 2015, MERCURY MARINE 150 HP
  OUTBOARDS, SERIAL # 2B204985 AND
  2B210912, AND OTHER APPURTENANCES
  FOR EXONERATION FROM OR LIMITATION
  OF LIABILITY,
  ______________________________________________/

                       ORDER REQUIRING SCHEDULING REPORT
                      AND CERTIFICATES OF INTERESTED PARTIES 1

         The parties are directed to prepare and file a joint scheduling report, as required by Local

  Rule 16.1, by April 15, 2025.         In addition, by April 15, 2025, the parties, including

  governmental parties, must file certificates of interested parties and corporate disclosure

  statements that contain a complete list of persons, associated persons, firms, partnerships, or

  corporations that have a financial interest in the outcome of this case, including subsidiaries,

  conglomerates, affiliates, parent corporations, and other identifiable legal entities related to a

  party. Throughout the pendency of the action, the parties are under a continuing obligation to

  amend, correct, and update the certificates.

         DONE AND ORDERED in Miami, Florida, this 4th day of April, 2025.



                                                 _______________________________________
                                                 CECILIA M. ALTONAGA
                                                 CHIEF UNITED STATES DISTRICT JUDGE
  cc:    counsel of record


         1
              The parties must not include Chief Judge Altonaga and U.S. Magistrate Judge Reid as
  interested parties unless they have an interest in the litigation.
